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 8                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
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10   BRITTANYMARIE KATHLEEN                   )   Case No.: 2:20-cv-09976-GJS
     BRUCE,                                   )
11                                            )   [PROPOSED] ORDER AWARDING
                  Plaintiff,                  )   EQUAL ACCESS TO JUSTICE ACT
12                                            )   ATTORNEY FEES AND EXPENSES
           vs.                                )   PURSUANT TO 28 U.S.C. § 2412(d)
13                                            )   AND COSTS PURSUANT TO 28
     KILOLO KIJAKAZI,                         )   U.S.C. § 1920
14   Acting Commissioner of Social            )
     Security,                                )
15                                            )
                  Defendant                   )
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           Based upon the parties’ Stipulation for the Award and Payment of Equal
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     Access to Justice Act Fees, Costs, and Expenses:
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           IT IS ORDERED that fees and expenses in the amount of $4,000.00 as
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     authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
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     awarded subject to the terms of the Stipulation.
22
     DATE: October 7, 2021
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                               _            __________________________________
24                                          GAIL J. STANDISH
                                            UNITED STATES MAGISTRATE JUDGE
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